                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                           CASE NO. 5:19-CV-051-KDB-DCK

 EARTHKIND, LLC,                                        )
                                                        )
                      Plaintiff,                        )
                                                        )
    v.                                                  )                  ORDER
                                                        )
 LEBERMUTH COMPANY INC., and                            )
 ROBERT M. BROWN,                                       )
                                                        )
                     Defendants.                        )


         THIS MATTER IS BEFORE THE COURT on Defendants’ “Consent Motion To Seal”

(Document No. 76) filed January 8, 2021. This motion has been referred to the undersigned

Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is appropriate. Having

carefully considered the motion and the record, the undersigned will grant the motion.

         A party who seeks to seal any pleading must comply with the Local Rules of this Court.

Local Civil Rule(“LCvR”) 6.1 provides in relevant part as follows:

         LCvR. 6.1     SEALED FILINGS AND PUBLIC ACCESS.

                (a)     Scope of Rule. To further openness in civil case
                proceedings, there is a presumption under applicable common law
                and the First Amendment that materials filed in this Court will be
                filed unsealed. This Rule governs any party’s request to seal, or
                otherwise restrict public access to, any materials filed with the Court
                or used in connection with judicial decision- making. As used in this
                Rule, “materials” includes pleadings and documents of any nature
                and in any medium or format.

                (b)    Filing under Seal. No materials may be filed under seal
                except by Court order, pursuant to a statute, or in accordance with a
                previously entered Rule 26(e) protective order.

                (c)     Motion to Seal or Otherwise Restrict Public Access. A
                party’s request to file materials under seal must be made by formal



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                 motion, separate from the motion or other pleading sought to be
                 sealed, pursuant to LCvR 7.1. Such motion must be filed
                 electronically under the designation “Motion to Seal.” The motion
                 must set forth:

                        (1)     A non-confidential description of the
                        material sought to be sealed;
                        (2)     A statement indicating why sealing is
                        necessary and why there are no alternatives to filing
                        under seal;
                        (3)     Unless permanent sealing is sought, a
                        statement indicating how long the party seeks to have
                        the material maintained under seal and how the
                        matter is to be handled upon unsealing; and
                        (4)     Supporting statutes, case law, or other
                        authority.

LCvR 6.1. It appears that the requirements of Local Rule 6.1(c)(1) through (4) have been

adequately met.

          Having considered the factors provided in Local Rule 6.1(c), the Court will grant the

motion to seal. Noting that the time for public response has not run to this motion, the Court will

consider any objection to this Order from non-parties as an objection to the motion, requiring no

additional burden for any non-party under the Federal Rules of Civil Procedure. See Local Rule

6.1(e).

          IT IS, THEREFORE, ORDERED that the “Consent Motion To Seal” (Document No.

76) is GRANTED. Document No. 77 shall remain partially redacted.

          IT IS FURTHER ORDERED that Defendants shall file an unredacted version of their

“Reply In Support Of . . . Motion To Compel…” (Document No. 77) under SEAL, on or before

January 13, 2021. Defendants’ unredacted sealed “Reply…” shall remain under SEAL until

otherwise ordered by this Court.




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SO ORDERED.



               Signed: January 11, 2021




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